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                          IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND


IN RE: THANH D. ZITO                                      *           CASE NO. 18-20791 NVA

                 Debtor(s)                                *           CHAPTER 13

                                                          *

    *        *        *        *       *       *      *           *   *       *       *       *       *   *   *

NATIONSTAR MORTGAGE, LLC                                      *
d//b/a MR. COOPER
            Movant                                            *

                   vs.                                        *

THANH D. ZITO                                                 *

                 Respondent                                   *

*        *        *        *       *       *          *           *       *       *       *       *       *       *

             ANSWER TO MOTION FOR RELIEF FROM AUTOMATIC STAY

        Now Comes Thanh D. Zito, debtor, by Lawrence A. Price, Jr. of Lawrence A. Price,

Jr., P.A., her attorney, and in response to the Motion for Relief from Automatic Stay filed by

Nationstar Mortgage, LLC d/b/a Mr.Cooper. states as follows:

    1. Respondent admits the allegations contained in Paragraph 1.

    2. Respondent admits the allegations contained in Paragraph 2.

    3. Respondent is without sufficient knowledge or information to either admit or deny the

         allegations contained in Paragraph 3 and therefore denies them.

    4. Respondent is without sufficient knowledge or information to either admit or deny the

         allegations contained in Paragraph 4 and therefore denies them.


    5. Respondent denies the allegations contained in Paragraph 5.
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   6. Respondent is without sufficient knowledge or information to either admit or deny the

       allegations contained in Paragraph 6 and therefore denies them.

       WHEREFORE, Respondent, Thanh D. Zito fully responded to the Motion for Relief from

Automatic Stay, prays that it be dismissed, Nationstar Mortgage, LLC, d/b/a Mr. Cooper to bear

its own costs.



                                              /s/ Lawrence A. Price, Jr.
                                             Lawrence A. Price, Jr.
                                             Lawrence A. Price, Jr., P.A.
                                             808 South. Main Street
                                             Bel Air, Maryland 21014
                                             (410) 838-2308
                                             Bar No.: 07047
                                             pricelaw@larrypricelaw.com



                                CERTIFICATE OF SERVICE

       I hereby certify that on this 25th   day of March, 2019 I reviewed the Court’s CM/ECF

system and it reports that an electronic copy of the debtor’s Answer to Motion for Relief from

Automatic Stay will served electronically by the Court’s CM/ECF system on the following:

                   Richard J. Rogers

                   Robert S. Thomas, II



                                             /s/ Lawrence A. Price, Jr.
                                             Lawrence A. Price, Jr.
